                                                          Entered on Docket
                                                          March 18, 2019
                                                          EDWARD J. EMMONS, CLERK
                                                          U.S. BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA


 1   Stephen D. Finestone (125675)
     Jennifer C. Hayes (197252)                       Signed and Filed: March 18, 2019
 2   Ryan A. Witthans (301432)
     FINESTONE HAYES LLP
 3   456 Montgomery Street, 20th Floor
     San Francisco, California 94104
 4   Tel. (415) 421-2624
     Fax (415) 398-2820                              __________________________________________
 5   sfinestone@fhlawllp.com                         HANNAH L. BLUMENSTIEL
                                                     U.S. Bankruptcy Judge
 6   Proposed Counsel for Debtor
     Munchery, Inc.
 7

 8                            UNITED STATES BANKRUPTCY COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11    In re                                                     Case No. 19-30232
12
      MUNCHERY, INC.                                            Chapter 11
13
               Debtor and Debtor in Possession.                 ORDER GRANTING
14                                                              APPLICATION TO EMPLOY
                                                                COUNSEL FOR CHAPTER 11
15                                                              DEBTOR (FINESTONE HAYES
                                                                LLP)
16

17

18            The Court has considered the Debtor’s Application to employ Finestone Hayes LLP as
19   its Chapter 11 counsel (the “Application”) and the Declaration of Stephen D. Finestone file in
20
     support of the Application. Based upon the record before the Court, the proposed counsel does
21
     not hold or represent any interest adverse to the estate in the matters on which counsel is to be
22
     employed, that proposed counsel is disinterested, that counsel’s employment is in the best
23

24   interest of the estate. Accordingly, it is hereby:

25            ORDERED that the Application is granted, and the Debtor is authorized to employ

26   Finestone Hayes LLP as its counsel under the terms and conditions set forth in the Application,
27
     with compensation subject to approval of the Court.
28
                                           ** END OF ORDER **

     Case:
     ORDER19-30232    Doc# 67
           - EMPLOY COUNSEL            Filed: 03/18/19       Entered: 03/18/19 10:01:44     Page
                                                                                               1 1 of 2
 1   Court Service List

 2   [None]

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

     Case:
     ORDER19-30232    Doc# 67
           - EMPLOY COUNSEL     Filed: 03/18/19   Entered: 03/18/19 10:01:44   Page
                                                                                  2 2 of 2
